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Exhibit 1 - In re Opioid Litig.: Monongalia Cty. Comm’n v. Purdue Pharma L.P.,
Civil Action No. 19-C-9000 (W. Va. Cir. Ct. of Kanawha Cty. Oct. 31, 2019) (Order
Denying Distributor Defendants’ Motion to Dismiss Plaintiffs’ Complaint)
(“Distributors Order”)

Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment on Plaintiff
Cabell County Commission’s Right to Abatement
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